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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :      CASE NO. 21-cr-123-PLF
               v.                              :
                                               :
VITALI GOSSJANKOWSKI,                          :
                                               :
                       Defendant.              :

               GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION
                        TO WITHDRAW AS COUNSEL

       On March 29, 2023, Defense Counsel filed a Motion to Withdraw as Counsel, ECF 167,

and provided that “GossJankowski has raised concerns about the legal representation being

provided to him by . . . counsel and has specifically asked that . . . counsel no longer represent him

in this matter.” On March 29, 2023, this Court ordered the Government to respond to

GossJankowski’s motion to withdraw on or before April 13, 2023. To resolve the defendant’s

motion, the United States submits that this Court should set a hearing and engage in a colloquy

with the defendant.

                                  Relevant Procedural History

       For his role in the events of January 6, 2021, GossJankowski was charged by a criminal

complaint on January 18, 2021. ECF 1. On January 22, 2021, a magistrate judge granted a motion

to appoint the Federal Public Defender’s Office to represent GossJankowski. See January 22, 2021

Minute Order (appointing counsel).

       On February 17, 2021, a grand jury returned the original indictment charging

GossJankowski. ECF 10. On March 11, 2021, Assistant Federal Public Defender Celia Goetzl

filed her notice of appearance. ECF 15. Assistant Federal Public Defender Ned Smock filed a

notice of appearance on January 10, 2023. ECF 104.
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       On February 28, 2023, jury selection for the defendant’s trial on a second superseding

indictment, ECF 127, began. February 28, 2023 Minute Order. On March 10, 2023, presentation

of evidence from the parties concluded and this Court heard arguments pursuant to Fed.R.Crim.P.

29 and reserved ruling on GossJankowski’s Rule 29 motion. March 10, 2023 Minute Order. On

March 16, 2023, the jury convicted GossJankowski of all counts in the second superseding

indictment and returned not guilty verdicts relating to his use or use and carrying of a deadly or

dangerous weapon. See March 16, 2023 Minute Order; ECF 164-1. Following the verdict, this

Court directed the parties to submit a proposed briefing schedule for the reserved Rule 29 motion.

       On March 29, 2023, defense counsel filed the pending motion seeking to withdraw. ECF

167.

                                         Legal Standard

       As outlined in United States v Wright, 923 F.3d 183 (D.C. Cir. 2019):

       [a]n indigent criminal defendant has the right to effective representation from court-
       appointed counsel, but he does not have a ‘constitutional right to choose his
       [appointed] attorney.’ If he is unhappy with his appointed counsel and requests a
       replacement, ‘the district court generally has an obligation to engage the defendant
       in a colloquy’ on the record ‘concerning the cause of [his] dissatisfaction.’

923 F.3d at 188 (quoting United States v Graham, 91 F.3d 213 (D.C. Cir 1996)). The colloquy

“may not only help the pro se defendant adequately to express the reason for his dissatisfaction

with counsel, thereby promoting confidence in the integrity of the process . . . it also creates an

opportunity for the court to ease the defendant’s concern if it is ill-founded.” United States v

Graham, 91 F.3d 213, 221 (D.C. Cir 1996).

       Further, at such hearing, “The defendant bears the burden of showing good cause to replace

appointed counsel, ‘such as a conflict of interest, an irreconcilable conflict, or a complete

breakdown in communication between the attorney and the defendant.’” United States v Bostick,



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791 F.3d 127, 156-57 (D.C. Cir 2015) (quoting Smith v Lockhart, 923 F.2d 1314, 1320 (8th Cir.

1991)). A defendant’s belief that appointed counsel has not sufficiently prepared does not meet

this standard. See United States v. Hall, 610 F.3d 727, 737-39 (D.C. Cir. 2010); see also United

States v Robinson, 913 F.2d 712, 716 (9th Cir. 1990) (anger at counsel’s failure to raise frivolous

matters does not constitute good cause), cert. denied, 498 U.S. 1104 (1991); Thomas v.

Wainwright, 767 F.2d 738, 742 (11th Cir. 1985) (a defendant’s general loss of trust in his counsel,

standing alone, does not show good cause), cert. denied, 475 U.S. 1031 (1986); United States v.

Allen, 789 F.2d 90, 93 (1st Cir. 1986) (good cause for substitution of counsel cannot be determined

‘solely according to the subjective standard of what the defendant perceives’) (quoting McKee v.

Harris, 649 F.2d 927, 932 (2d Cir. 1992)).

                                             Argument

       GossJankowski’s motion does not provide a sufficient factual basis to support appointing

new counsel. It states that GossJankowski has unspecified concerns about his legal representation

and that he wants new counsel; however, the motion does not allege that current counsel have a

conflict of interest, or that differences with counsel exist that are irreconcilable, or that there has

been a complete breakdown in communication between GossJankowski and his counsel. Thus,

none of grounds that would establish good cause to substitute counsel appear in the motion to

withdraw.

       Three days before the motion to withdraw, GossJankowski posted on his publicly available

twitter account that:




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The tweets have since been deleted. 1 See Exhibit 1.

       Neither the defendant’s motion nor the deleted tweets quoted above provide good cause to

allow the Federal Defender to withdraw from this case; however, they do warrant further inquiry

from this Court. See Wright, 923 F.3d at 188; Bostick, 791 F.3d at 156. Such an inquiry may


1
 During trial, on March 10, 2023 at approximately 3:34 p.m., this Court conducted a colloquy
with the defendant to ensure his understanding that the decision whether to testify was entirely
his to make, and to ensure that his decision not to testify was voluntary.
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provide the opportunity for the Court to correct what appears to be GossJankowski’s

misunderstanding of his counsel’s role. His misconceptions appear to include the belief that

counsel must defend his reputation and the belief that counsel may not use independent judgment

over matters such as questioning witnesses, among others. See Taylor v. Illinois, 484 U.S. 400,

418 (1988) (counsel “has—and must have—full authority to manage the conduct of the trial”);

United States v. Gordon, 77 F.Supp.3d 95, 101 (D.D.C. 2015) (“the decision to call witnesses is

within counsel’s discretion”).

       GossJankowski does not have a constitutional right to choose his appointed attorney. The

Sixth Amendment does not require that he have rapport or even a meaningful relationship with

counsel. Morris v. Slappy, 461 U.S. 1, 13-14 (1983); United States v Bell, 795 F.3d 88, 94 (D.C.

Cir. 2015). Moreover, even where a defendant does have the right to retain counsel of his choice,

that right is not absolute and cannot be exercised in a way that will obstruct orderly procedure or

frustrate the public’s interest in the prompt, effective, an efficient administration of justice. United

States v. Burton, 584 F.2d 485, 489 (D.C. Cir. 1978). This Court may fairly consider that the

request for counsel to withdraw at this late stage of the defendant’s case will cause considerable

delay, arising from the time needed to arrange for new counsel and from any new attorney’s need

to become sufficiently familiar with the case and the record from a two-week trial to brief the

reserved Rule 29 motion. The delay resulting from any substitution of counsel will not further the

public interest in the prompt administration of justice. See also LcrR 44.5(d) (“The Court may

deny a motion to withdraw if the attorney's withdrawal would unduly delay trial of the case or be

unfairly prejudicial to any party, or otherwise not be in the interests of justice.”). Insofar as Rule




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29 proceedings have not concluded, permitting counsel to withdraw will delay the final

adjudication of this case. 2

        This record shows only that the Federal Defender has effectively and zealously represented

the defendant. There has been no showing that the Federal Defender will be unable to do so at

future proceedings. Accordingly, this Court should decline to grant the Motion to Withdraw before

conducting a colloquy with the defendant, and even following such a colloquy, may find it

appropriate to deny the relief requested.

                                             Respectfully Submitted,

                                             MATTHEW M. GRAVES
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2
 The prosecution is not aware of a criminal case addressing undue delay or unfair prejudice in the
context of LcrR 44.5(d). In civil cases, which also apply this standard, judges have considered the
length of time the case and dispositive motions have been pending, the time it would take for the
unrepresented party to secure new legal representation, and the degree of financial burden that
counsel would suffer if required to remain in the case. Byrd v. District of Columbia, 271 F.Supp.2d
174, 176 (D.D.C. 2003). The Court must also ensure that allowing an attorney’s withdrawal would
not disrupt prosecution of the civil case. Id. at 177 (citing Whiting v. Lacara, 187 F.3d 317, 320
(2d Cir. 1999)). Substituting counsel may burden the resources of this Court through expenditure
of Criminal Justice Act funds for new counsel who would, to no small extent, need to duplicate
the work of current counsel. Securing substitute counsel may take a considerable amount of time.
See, e.g., United States v. Paul Russell Johnson, 21-cr-537-JMC (D.D.C.), where it took five weeks
for substitute counsel to appear (July 8, 2022 Minute Order granting defense counsel’s motion to
withdraw; ECF 190 (notice of appearance for court-appointed counsel filed on August 17, 2022)).
Accordingly, if this Court were to consider the factors applied in civil litigation for motions to
withdraw, each would weigh against granting withdrawal here. See also Baron v. District of
Columbia, 209 F.R.D. 274, 277-78 (D.D.C. 2022) (conditioning counsel’s withdrawal on
completion and filing of brief for a pending dispositive motion).
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